                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR98-0011-LRR
 vs.                                              ORDER REGARDING MOTION
                                                  FOR SENTENCE REDUCTION
 SAVINO CAPUCHINO AGUILAR,
                                                        PURSUANT TO
               Defendant.                            18 U.S.C. § 3582(c)(2)




       Regarding a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2), the court
held a hearing on May 28, 2015. Consistent with the findings that the court made during
the hearing concerning Amendment 782 (subject to subsection (e)(1)), the court concludes
that a reduction under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10 is not justified. After
thoroughly reviewing the defendant’s file, the provisions and commentary of USSG
§1B1.10, the factors set forth in 18 U.S.C. § 3553(a), the nature and seriousness of the
danger to any person or community that may be posed by a reduction in the defendant’s
term of imprisonment and the defendant’s post-sentencing conduct, the court declined to
exercise its discretion under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10. The court’s own
motion under 18 U.S.C. § 3582(c)(2) is denied. The clerk’s office is directed to send a
copy of this order to the defendant and provide a copy of this order to appointed counsel,
the office of the Federal Public Defender, the office of the United States Attorney and the




   Case 1:98-cr-00011-CJW-MAR          Document 492      Filed 06/02/15    Page 1 of 2
office of United States Probation.
      IT IS SO ORDERED.
      DATED this 2nd day of June, 2015.




                                          2

   Case 1:98-cr-00011-CJW-MAR        Document 492   Filed 06/02/15   Page 2 of 2
